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                    EXHIBIT “1”
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      Court of Common Pleas of Philadelphia Exhibit
                                            County 1 Page 2 of 214For Prothonotary Use Only (Docket Number)
                             Trial Division
                   Civil Cover Sheet                                        E-Filing Number:   1603077405
PLAINTIFF'S NAME                                                            DEFENDANT'S NAME
 ISLAND VIEW PROPERTIES, INC.                                                 PRUDENTIAL SAVINGS BANK

PLAINTIFF'S ADDRESS                                                         DEFENDANT'S ADDRESS
 ONE SOUTH STATE STREET                                                       1834 W. OREGON AVENUE
 NEWTOWN PA 18940                                                             PHILADELPHIA PA 19145

PLAINTIFF'S NAME                                                            DEFENDANT'S NAME
 ISLAND VIEW CROSSING II, LP

PLAINTIFF'S ADDRESS                                                         DEFENDANT'S ADDRESS
 ONE SOUTH STATE STREET
 NEWTOWN PA 18940

PLAINTIFF'S NAME                                                            DEFENDANT'S NAME
 RENATO J. GUALTIERI

PLAINTIFF'S ADDRESS                                                         DEFENDANT'S ADDRESS
 1628 CARLENE COURT
 LANGHORNE PA 19047

TOTAL NUMBER OF PLAINTIFFS         TOTAL NUMBER OF DEFENDANTS        COMMENCEMENT OF ACTION
                                                                       X Complaint                 Petition Action                     Notice of Appeal
               3                                     1
                                                                          Writ of Summons          Transfer From Other Jurisdictions
AMOUNT IN CONTROVERSY          COURT PROGRAMS

                                   Arbitration                   Mass Tort                       X Commerce                         Settlement
    $50,000.00 or less             Jury                          Savings Action                    Minor Court Appeal               Minors
 X More than $50,000.00            Non-Jury                      Petition                          Statutory Appeals                W/D/Survival
                                   Other:
CASE TYPE AND CODE

  1O - CONTRACTS OTHER

STATUTORY BASIS FOR CAUSE OF ACTION




RELATED PENDING CASES (LIST BY CASE CAPTION AND DOCKET NUMBER)                                                       IS CASE SUBJECT TO
                                                                                                                     COORDINATION ORDER?
                                                                                                                                 YES         NO


                                                                   MAR 31 2016
                                                                      K. EDWARDS

TO THE PROTHONOTARY:
Kindly enter my appearance on behalf of Plaintiff/Petitioner/Appellant: ISLAND VIEW PROPERTIES, INC. ,
                                                                        ISLAND VIEW CROSSING II, LP , RENATO
Papers may be served at the address set forth below.

NAME OF PLAINTIFF'S/PETITIONER'S/APPELLANT'S ATTORNEY                      ADDRESS

 MARK D. VILLANUEVA                                                          STRADLEY RONON STEVENS & YOUNG
                                                                             2005 MARKET ST STE 2600
PHONE NUMBER                            FAX NUMBER                           PHILADELPHIA PA 19103
 (215)564-8159                          (215)564-8120

SUPREME COURT IDENTIFICATION NO.                                           E-MAIL ADDRESS

 89892                                                                       mvillanueva@stradley.com

SIGNATURE OF FILING ATTORNEY OR PARTY                                      DATE SUBMITTED

 MARK VILLANUEVA                                                             Thursday, March 31, 2016, 02:31 pm

                                                  FINAL COPY (Approved by the Prothonotary Clerk)
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                                                          Office of Judicial Records
                                                              31 MAR 2016 02:31 pm
                                                                   K. EDWARDS




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                                                                   K. EDWARDS




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